                                FILED
Case 3:20-cr-00321-EMC Document 1 Filed 08/12/20 Page 1 of 19


     United States District Court Aug 12 2020
                          FOR THE
               NORTHERN DISTRICT OF CALIFORNIA                                  SUSANY. SOONG
                                                                           CLERK, U.S. DISTRICT COURT
                    VENUE: SAN FRANCISCO
                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                                                 SAN FRANCISCO
                        UNITED STATES OF AMERICA,
                                             V.




        DALE BEHM; YONG HENG LIANG, a/k/a COLIN LIANG; JOSHUA STANKA;
                     JOSHUA CLARK; and MICHAEL CHOY,




                                DEFENDANT(S).


                                    INDICTMENT


      18 U.S.C. § 286 – Conspiracy to Defraud the Government with Respect to Claims;
                  18 U.S.C. § 287 – False, Fictitious, or Fraudulent Claims;
                               18 U.S.C. § 1343 – Wire Fraud;
                               18 U.S.C. § 1341 – Mail Fraud;
                           18 U.S.C. § 1957 – Money Laundering;
               18 U.S.C. § 1956(a)(2)(A) – Laundering Monetary Instruments;
                          18 U.S.C. § 2 – Aiding and Abetting; and
      18 U.S.C. §§ 981(a)(1)(C), 982(a)(2)(B) and 28 U.S.C. § 2461 – Criminal Forfeiture




         A true bill.

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                                                                   Foreman

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         Filed in open court this __________ day of
                  $XJXVW
         _________________________________.

                         Rose Maher, Courtroom Deputy
          ____________________________________________
                                                   Clerk
          ____________________________________________

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                                                  Bail, $ _____________
          Thomas S. Hixson, U.S. Magistrate Judge
               Case 3:20-cr-00321-EMC Document 1 Filed 08/12/20 Page 2 of 19
                                                                              FILED
                                                                                 Aug 12 2020
 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney                                                 SUSANY. SOONG
 2
                                                                     CLERK, U.S. DISTRICT COURT
 3                                                                NORTHERN DISTRICT OF CALIFORNIA
 4                                                                         SAN FRANCISCO

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 8                                    UNITED STATES DISTRICT COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                           SAN FRANCISCO DIVISION
11
     UNITED STATES OF AMERICA,                         )   Case No. CR20-321EMC
12                                                     )
             Plaintiff,                                )   VIOLATIONS:
13      v.                                             )   18 U.S.C. § 286 – Conspiracy to Defraud the
                                                       )   Government with Respect to Claims;
14
     DALE BEHM; YONG HENG LIANG, a/k/a                 )   18 U.S.C. § 287 – False, Fictitious, or Fraudulent
15   COLIN LIANG, ; JOSHUA STANKA;                     )   Claims;
     JOSHUA CLARK; and MICHAEL CHOY,                   )   18 U.S.C. § 1343 – Wire Fraud;
16                                                     )   18 U.S.C. § 1341 – Mail Fraud;
             Defendants.                               )   18 U.S.C. § 1957 – Money Laundering;
17                                                     )   18 U.S.C. § 1956(a)(2)(A) – Laundering Monetary
                                                       )   Instruments;
18
                                                       )   18 U.S.C. § 2 – Aiding and Abetting; and
19                                                     )   18 U.S.C. §§ 981(a)(1)(C), 982(a)(2)(B) and 28
                                                       )   U.S.C. § 2461 – Criminal Forfeiture
20                                                     )
                                                       )   SAN FRANCISCO VENUE
21                                                     )
22                                                     )   (UNDER SEAL)

23
                                                INDICTMENT
24 The Grand Jury charges:

25           At all times relevant to this indictment, unless otherwise indicated, and with all dates being

26 approximate and all date ranges both approximate and inclusive:

27 //

28 //


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 1                                      INTRODUCTORY ALLEGATIONS

 2          Background Regarding International Cargo Shipments

 3          1.       International imports and exports of cargo are frequently transported via standardized

 4 shipping containers that are eight feet wide and twenty to forty feet deep. A standardized cargo

 5 container can hold in excess of 25,000 kilograms of cargo. Standardized cargo containers can be fitted

 6 to tractor trailers or train cars for road or rail shipment or loaded onto oceangoing vessels for interstate

 7 and international shipment.

 8          2.       Orient Overseas Container Line (“OOCL”) was an interstate and international shipping

 9 company headquartered in Hong Kong, Special Administrative Region of the People’s Republic of

10 China (“Hong Kong”). OOCL conducts interstate and international shipping out of the Port of Oakland,

11 in the Northern District of California, among other places in the United States.

12          3.       Maersk Lines was an interstate and international shipping company headquartered in

13 Denmark. Maersk Lines conducts interstate and international shipping out of the Port of Oakland, in the

14 Northern District of California, among other places in the United States.

15          4.       OOCL and other shipping companies required that a cargo container’s sender provide

16 information for a commercial bill of lading. The information provided by the shipper included an

17 identification of the shipper, the consignee, or recipient, the port of loading, the port of discharge, and a

18 description of the contents of the container. Bills of lading also included the gross weight of the

19 container, the container’s declared value, and information about the cost of the shipment.

20          Defendants, Entities Controlled by Defendants, and Other Entities

21          5.       Defendant YONG HENG LIANG, also known as COLIN LIANG (“LIANG”), was a

22 resident of Daly City, California.

23          6.       ML Trading Group, Inc. (“ML Trading”) was a company located in San Lorenzo,

24 California, within the Northern District of California. ML Trading filed Articles of Organization with

25 the California Secretary of State on July 14, 2014. ML Trading purported to be an exporter of materials

26 from the United States.

27          7.       Bay Area Tire Recycling, Inc. (“BATR”), was a company located in Hayward,

28 California. BATR was incorporated in California on November 28, 2011. Prior to February 1, 2019,


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 1 BATR was permitted by the State of California to have no more than 4,999 tires at its facility. Tire

 2 retailers paid BATR to recycle customers’ used tires.

 3          8.       LIANG controlled ML Trading and BATR.

 4          9.       Under the direction and control of LIANG, BATR, which purported to recycle tires,

 5 bundled and loaded used tires into shipping containers. LIANG arranged for the containers to be

 6 shipped to ports in countries in Asia, including the Republic of Korea, India, and Vietnam.

 7          10.      The Pacific Rim Traders, LLC (“Pacific Rim”) was a company headquartered in San

 8 Francisco, California. Pacific Rim filed Articles of Organization with the California Secretary of State

 9 on April 27, 2006.

10          11.      Pacific Rim was owned and controlled by individuals in China. Pacific Rim imported

11 thousands of metric tons per month of Polyethylene Tetraphthalate resin (“PET”), a plastic resin that can

12 be melted and formed into plastic items, including beverage bottles. PET imports from China are

13 subject to tariffs collected by U.S. Customs and Border Protection (“CBP”).

14          12.      Defendant DALE BEHM (“BEHM”) was a resident of California and later Missouri.

15 From at least December 22, 2013, to at least July 12, 2017, BEHM was the General Manager of Pacific

16 Rim.

17          13.      Defendant JOSHUA STANKA (“STANKA”) was a resident of Texas. STANKA was a

18 consultant for an entity registered in Texas on or about May 24, 2013, which purported to secure rights

19 from third-party exporters for use in drawback claims by offsetting the tariffs paid by the entity’s clients,

20 including Pacific Rim.

21          14.      On or about April 22, 2015, STANKA registered a Texas entity called TPP Export

22 America, LLC (“TPP Export”), which purported to secure rights from third-party importers and

23 exporters for use in drawback claims of its clients, including Pacific Rim. STANKA was a 37.5 percent

24 owner of TPP Export.

25          15.      Defendant JOSHUA CLARK (“CLARK”) was a resident of Fulshear, Texas. CLARK

26 was President and a 37.5 percent owner of TPP Export.

27

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 1          16.     On or about February 6, 2017, CLARK registered a single-member Texas entity named

 2 Hammer Trading, as a company specializing in customs drawback consulting. CLARK and STANKA

 3 controlled Hammer Trading. In July 2017, Hammer Trading took over the clients of TPP Export.

 4          17.     Defendant MICHAEL CHOY (“CHOY”) was a resident of Canada. CHOY controlled

 5 two companies that purported to arrange for exports of recycled material, including plastic, to countries

 6 in Asia.

 7          18.     JP Morgan Chase Bank, Bank of America, Independent Bank, and Integrity Bank were

 8 financial institutions, as that term is defined in Title 31, United States Code, Section 5312, the deposits

 9 of which were insured by the Federal Deposit Insurance Corporation. Canadian Imperial Bank of

10 Commerce and Toronto Dominion Bank were foreign banks, as that term is defined in Title 12, United

11 States Code, Section 3101.

12          Background Regarding Drawback Claims

13          19.     Tariffs are charges imposed by the United States on imports or exports of particular

14 goods. Tariffs are also known as “duties.”

15          20.     CBP is an agency of the United States, within the United States Department of Homeland

16 Security, which is a department of the United States. Among other things, CBP is responsible for

17 administering import and export regulations and collecting tariffs, and approving claims for refund of

18 tariffs, known as “drawbacks.” By regulation, up to 99% of the original tariff amount may be refunded

19 through a qualifying drawback. Tariffs are imposed based on the product imported, its weight, and the

20 country of origin.

21          21.     Drawback claimants submit claims to CBP. In addition to other requirements, drawback

22 claims must be signed under penalty of perjury. If the claimant is not the original importer of the later-

23 exported item, the claimant must submit a delivery certificate from the original importer to substantiate

24 the claimant’s right to claim a drawback. If the claim is accepted, CBP pays the drawback to the

25 claimant by Treasury check.

26          22.     Subject to the posting of a customs bond and other requirements, drawback claimants

27 may seek approval from CBP for accelerated payment of drawback claims pursuant to 19 C.F.R

28 § 191.92. Drawback claimants that have been accepted for accelerated payment of drawback may


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 1 receive payment in as little as three weeks of electronically filed claims. The drawback claim is later

 2 reviewed by a CBP Drawback Specialist and, if approved, the claim is considered to be “liquidated.” A

 3 drawback claimant filing claims under the accelerated drawback program may not claim total drawbacks

 4 in excess of the posted bond at any given time.

 5          23.    Pursuant to 19 U.S.C. § 1313(p), an importer of certain finished petroleum derivatives,

 6 including certain plastic resins such as PET, may claim a tariff drawback of up to 99% of tariffs paid for

 7 the import of such material if the item or an item “of the same kind and quality” is exported within 180

 8 days of the import. An exported item may also be eligible to offset an imported item’s tariff if the two

 9 items share an 8-digit classification according to the U.S. Harmonized Tariff Schedule (“HTS”)

10 published and maintained by the U.S. International Trade Commission.

11          Drawback Claims Filed by Pacific Rim

12          24.    Pacific Rim, and other clients of TPP Export, did not export merchandise or return

13 unused imported merchandise that would qualify for tariff drawback under 19 U.S.C. § 1313(p).

14          25.    On or about August 15, 2013, Pacific Rim applied for approval for accelerated drawback

15 claims. Pacific Rim was notified by letter from CBP, addressed to BEHM and dated November 22,

16 2013, that it was approved for accelerated drawback claims for unused merchandise substitution

17 pursuant to 19 U.S.C. § 1313(p), subject to its posting of a bond in the amount of 100% of the

18 drawbacks claimed under the accelerated payment program.

19          26.    No later than December 17, 2013, Pacific Rim obtained a customs bond in the amount of

20 $1,000,000. No later than November 24, 2014, Pacific Rim’s customs bond was increased to

21 $2,000,000.

22          27.    On or about April 3, 2014, Pacific Rim entered into a contract with a San Francisco-

23 based drawback broker and consulting company (“Broker-1”) to electronically file Pacific Rim’s

24 drawback claims with CBP. The contract called for payment to Broker-1 of $75 for every container load

25 of exports.

26                THE CONSPIRACY AND SCHEME TO DEFRAUD THE UNITED STATES

27          28.    Paragraphs 1 through 26 above are incorporated and realleged as if fully set forth here.

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 1          29.    The defendants conspired to defraud the United States, specifically CBP, by filing false

 2 and fraudulent drawback claims seeking refunds totaling tens of millions of dollars in customs duties

 3 paid by Pacific Rim and other importers of certain types of plastic resins and polymers.

 4                                          MANNER AND MEANS

 5          30.    BEHM, STANKA, CLARK, LIANG, and CHOY, and others known and unknown to the

 6 Grand Jury, used the following manner and means, among others, to accomplish the objects of the

 7 conspiracy:

 8                 a.      On or about November 25, 2014, BEHM and others acting on behalf of Pacific

 9          Rim, increased the secured bond with CBP from $1,000,000 to $2,000,000, enabling additional

10          drawback claims to remain pending at a given time with CBP under the accelerated drawback

11          program.

12                 b.      On November 25, 2014, Pacific Rim, with the assistance of STANKA and

13          Broker-1, authorized and caused to be electronically filed with CBP a drawback claim in the

14          amount of $88,678.42. Between November 25, 2014, and August 17, 2017, Pacific Rim caused

15          to be filed at least 68 claims seeking drawbacks totaling at least $7,216,925 and received at least

16          $6,427,902 based upon such claims.

17                 c.      These drawback claims, signed under penalty of perjury by the drawback

18          consulting company and based on assurances of accuracy by BEHM and others, were transmitted

19          electronically to CBP by the consulting company. The drawback claims falsely claimed

20          eligibility for refund of the customs duties based on the export of commercially interchangeable

21          merchandise under the provisions of 19 U.S.C. § 1313(p), when in fact no such export of

22          commercially interchangeable merchandise had occurred.

23                 d.      Instead, at the direction of STANKA and CLARK, CHOY, LIANG, and others

24          collected and received export bills of lading documenting the export of items that would not

25          qualify for drawback under 19 U.S.C. § 1313(p), including for containers of waste tires exported

26          to the Republic of Korea, India, Hong Kong, Vietnam, and other countries by LIANG and his

27          companies (See, e.g., Figures 1 and 2).

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11            Figure 1                                           Figure 2
12                e.     CHOY, at the direction of STANKA and CLARK, altered the export bills of

13        lading to make them appear to qualify as the same kind and quality of material that Pacific Rim

14        imported, including changing the description of the exports and adding HTS codes provided to

15        him by STANKA and CLARK.

16                f.     CHOY, at the direction of STANKA and CLARK, further altered some export

17        bills of lading to include Pacific Rim appear as the shipper of record, in order to fraudulently

18        mislead CBP and others regarding the true owners and exporter of the items, which were LIANG

19        and others.

20                g.     CHOY further added Automated Export System information to make the bills of

21        lading appear to reflect the export of valuable merchandise when, in reality, LIANG and others

22        had declared the values of many of the containers of waste tires too low to require the filing of

23        export information.

24                h.     CHOY and others further altered some export bills of lading to fraudulently

25        increase the weight of some containers listed on export bills of lading to increase the drawback

26        claims of Pacific Rim and other clients of TPP Export.

27                i.     STANKA and CLARK directed other employees of TPP Export to prepare false

28        invoices in the name of its clients to use as documentation to submit to the drawback claim


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 1        preparer and CBP to support the clients’ drawback claims. The invoices, some reflecting

 2        transactions of over $1,000,000, purported to be prepared by the clients, including Pacific Rim,

 3        and reflected fictitious sales of plastic resins to companies located in countries LIANG’s and

 4        others’ export containers were sent, with descriptions of materials which would qualify to offset

 5        the client’s tariffs, although no transaction, exchange of funds, or export occurred between the

 6        buyer and purported seller. The commercial invoices and other documents prepared by

 7        employees of TPP Export were based on the false export bills of lading prepared by CHOY and

 8        others and pricing information provided by STANKA and were generated for the sole purpose of

 9        falsely substantiating drawback claims. Employees of TPP Export would then provide the

10        fraudulent export bills of lading and commercial invoices to its clients to submit to its claim

11        preparation company located in San Francisco.

12                j.     Although the falsified bills of lading purported to document the export of shipping

13        containers loaded with thousands of tons of PET resin, in reality, actual shipments contained

14        materials that would not qualify for drawback, including the waste tires of LIANG’s purported

15        tire recycling business and exports of plastic scrap and other material.

16                k.     BEHM, STANKA, and CLARK used information calculated by employees of

17        Pacific Rim’s drawback claim preparer about the amount of drawback claims that could be filed

18        based on the company’s customs bond to maximize the amounts to claim in subsequent

19        drawback filings.

20                l.     In order to increase the fraudulent drawback claims, STANKA, CLARK, and

21        others negotiated and purchased drawback rights and import information from plastic resin

22        importers and provided Pacific Rim with delivery certificates in order to submit additional

23        fraudulent drawback claims in the name of Pacific Rim and TPP Export’s other clients using its

24        accelerated drawback privileges.

25                m.     To conceal their roles in the conspiracy and scheme, STANKA and BEHM

26        directed employees of Pacific Rim not to disclose to anyone the involvement of STANKA, TPP

27        Export, or others in the preparation of drawback paperwork.

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 1                 n.     In exchange for using its accelerated drawback program privileges and name on

 2         drawback claims, Pacific Rim received approximately 15% to 20% of the proceeds of its

 3         drawback claims. The drawback consulting company received fees for preparation of the false

 4         drawback claims on a per-container basis. STANKA, CLARK, and others, through TPP Export

 5         received the remainder of the refunds, some of which was distributed to CHOY and LIANG for

 6         their roles in providing and falsifying export documentation for submission to CBP.

 7                 o.     When claims filed in the name of Pacific Rim were approved by CBP, the third-

 8         party drawback claim preparer received the drawback checks by mail and forwarded them to

 9         Pacific Rim. Pacific Rim cashed the checks with East West Bank in the Northern District of

10         California, and paid the preparer’s fees for preparation of claims, keeping the agreed percentage

11         of the drawback refund and wiring the remainder to TPP Export’s bank account in Texas.

12                 p.     BEHM falsely signed certifications for the drawback claim preparer, affirming

13         that the exported items were “commercially interchangeable” with his company’s imports or that

14         the items were “subject to the same 8-digit HTSUS tariff classification,” when he knew they

15         were not.

16                 q.     STANKA, CLARK, and others, using TPP Export and later Hammer Trading,

17         knowingly and intentionally used falsified bills of lading provided by CHOY and false invoices

18         to substantiate drawback claims for other clients, knowing that they would be used to

19         substantiate false drawback claims.

20         31.     STANKA, CLARK, CHOY, and others provided fraudulent export information to other

21 clients of TPP Export, and later Hammer Trading, including two plastics importing companies located in

22 Pennsylvania, hereafter called Company-1 and Company-2.

23         32.     Between 2014 and 2018, Pacific Rim, Company-1, and Company-2 filed drawback

24 claims with CBP totaling at least $40,005,000.

25         33.     Fraudulent drawback claims submitted to CBP by Pacific Rim from November 2014

26 through 2017 totaled at least $6,427,000.

27         34.     Drawback claims submitted to CBP by Company-1 between 2014 and 2019 totaled at

28 least $15,717,000. Company-1 paid TPP Export at least $886,000 between 2015 and 2016. Company-1


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 1 paid Hammer Trading at least $648,000 in 2019. Drawback claims submitted to CBP by Company-1

 2 contained fraudulent export information.

 3         35.     Drawback claims submitted to CBP by Company-2 between 2014 and 2019 totaled at

 4 least $17,861,000. Company-2 paid TPP Export at least $5,598,000 between 2015 and 2017.

 5 Company-2 paid Hammer Trading at least $8,261,000 between 2017 and 2019. Drawback claims

 6 submitted to CBP by Company-2 contained fraudulent export information.

 7                        THE SCHEME TO DEFRAUD SHIPPING COMPANIES

 8         36.     LIANG defrauded interstate and international shipping companies of shipping fees for

 9 cargo containers and for disposal costs associated with those abandoned shipments.

10                                         MANNER AND MEANS

11         37.     LIANG and others known and unknown to the Grand Jury used the following manner and

12 means, among others, to accomplish the objects of the scheme:

13                 a.     In order to evade collection of shipping fees after the containers had been

14         delivered to foreign ports, including the Republic of Korea, LIANG provided false information

15         to the shipping companies about the shipper of containers, including listing the shipper as

16         “Sigma Recycling, Inc.,” “Asian International Trading,” “Alpine Tire Trading, Inc.,” and

17         Transpacific Global Logistics Corp.”

18                 b.     LIANG provided false information to the shipping companies, including OOCL

19         and Maersk Lines, about the foreign consignees that the shipping companies expected to retrieve

20         the rubber and scrap plastic shipments. Among other things, LIANG listed defunct or dissolved

21         consignees for shipments to ports in Asia, in order to impose disposal fees in foreign locations

22         for such cargo that LIANG could not sell or cause to be recycled. Shipping companies,

23         including OOCL, incurred port fees, known as “demurrage” for LIANG’s unclaimed shipments.

24                 c.     OOCL accrued at least $600,000 for destruction of 128 shipping containers sent

25         by LIANG as ML Trading, care of Pacific Rim left in Busan, Republic of Korea.

26                d.      LIANG further listed sham entity names and false business addresses on shipping

27         instructions sent to shipping companies, including OOCL and Maersk Lines, in order to evade

28         payment of shipping fees.


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 1                  e.     Maersk Lines accrued at least $230,000 in unpaid shipping fees as a result of

 2          LIANG’s false and misleading shipping information.

 3 COUNT ONE: (18 U.S.C. § 286 – Conspiracy to File False Claims)

 4          38.     Paragraphs 1 through 35 above are incorporated and realleged as if fully set forth here.

 5          39.     Beginning at a time unknown to the Grand Jury but no later than on or about July 17,

 6 2014, and continuing to at least on or about September 27, 2019, in the Northern District of California

 7 and elsewhere, the defendants,

 8                                                DALE BEHM,
                                               JOSHUA STANKA,
 9                                              JOSHUA CLARK,
                                             YONG HENG LIANG, and
10                                              MICHAEL CHOY

11 entered into an agreement, combination and conspiracy with each other and with others to defraud U.S.

12 Customs and Border Protection, an agency of the United States, by obtaining and aiding to obtain the

13 allowance and payment of false, fictitious, and fraudulent drawback claims, knowing that such claims

14 were false, fictitious, and fraudulent.

15          All in violation of Title 18, United States Code, Section 286.

16 COUNTS TWO THROUGH SIXTEEN: (18 U.S.C. §§ 287 and 2 – False, Fictitious, or Fraudulent
   Claims)
17

18          40.     Paragraphs 1 through 35 above are incorporated and realleged as if fully set forth here.
19          41.     On the dates described in the table below, in the Northern District of California and
20 elsewhere, the defendants,

21                                                DALE BEHM,
                                               JOSHUA STANKA,
22                                              JOSHUA CLARK,
                                             YONG HENG LIANG, and
23                                              MICHAEL CHOY
24 made and presented to the United States tariff drawback claims of The Pacific Rim Traders, LLC, which

25 claims defendants knew each to be false, submitted on the following dates and in the following amounts:

26       Count      Date of Fraudulent       Date U.S. Treasury     Claim Number        Amount of Claim
                          Claim               Check Deposited
27          2           11/02/2015               12/04/2015         APN/11502704           $655,850.13
28          3           4/13/2016                5/16/2016          APN/11603106           $349,031.41
            4           4/29/2016                6/13/2016          APN/11603155           $216,340.73

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 1       Count     Date of Fraudulent      Date U.S. Treasury       Claim Number         Amount of Claim
                         Claim              Check Deposited
 2          5          6/03/2016                7/5/2016            APN/11603247            $330,776.23
 3          6          8/10/2016                9/9/2016            APN/11603411            $476,436.66
            7          10/11/2016              11/14/2016           APN/31620791            $187,190.02
 4          8          10/18/2016              12/19/2016           APN/31620858            $385,038.78
            9          12/05/2016              1/19/2017            APN/31620916            $156,059.30
 5         10          12/15/2016              1/19/2017            APN/31620981            $395,723.40
           11          1/20/2017               2/27/2017            APN/31721110             $55,664.80
 6
           12          2/07/2017               3/20/2017            APN/31721151             $94,981.74
 7         13          5/10/2017               6/20/2017            APN/31721441            $243,408.49
           14           6/7/2017               7/10/2017            APN/31721524            $192,877.88
 8         15          6/16/2017               7/19/2017            APN/31721565            $226,194.59
           16          7/06/2017                8/8/2017            APN/31721573             $93,016.62
 9

10          Each in violation of Title 18, United States Code, Sections 287 and 2.

11 COUNTS SEVENTEEN THROUGH TWENTY-EIGHT: (18 U.S.C. §§ 1343 and 2 – Wire Fraud)

12          42.     Paragraphs 1 through 35 are incorporated and realleged as if fully set forth here.

13          43.     On or about the dates provided below, in the Northern District of California and

14 elsewhere, the defendants,

15                                               DALE BEHM,
                                              JOSHUA STANKA,
16                                             JOSHUA CLARK,
                                            YONG HENG LIANG, and
17                                             MICHAEL CHOY

18 and others, did knowingly, and with the intent to defraud, participate in, devise, and intend to devise a

19 scheme and artifice to defraud, and to obtain money and property by means of materially false and

20 fraudulent pretenses, representations, and promises, and by concealment of material facts and omissions

21 of material facts with a duty to disclose, and attempting to do so, did knowingly transmit, and cause to

22 be transmitted, the following writings, signs, signals, pictures, and sounds in interstate and foreign

23 commerce by means of wire communications in interstate commerce:

24       Count          Date                             Description of Wire(s)
          17         8/19/2015     Email correspondence between STANKA and BEHM, subject:
25                                 “PRT-TPP drawback joint project”
            18      10/05/2015     Email from LIANG to CHOY with photographic attachments,
26
                                   subject: “Loading pics”
27          19      10/12/2015     Email from CHOY to LIANG, subject “BLs” with attachments
            20      2/26/2016      Email from LIANG to CHOY, subject: “Fwd: OOCL – Copy Bill of
28                                 Lading for OOLU4037367930 HANJIN CHONGQUING 039 w”

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 1       Count          Date                              Description of Wire(s)
          21         2/29/2016     Email from CHOY to STANKA, subject: “BLs 2/29”
 2        22          3/2/2016     Email from employee of Pacific Rim to drawback claim preparer,
 3                                 BEHM, and employee of TPP Export, subject: “Engineering Resin
                                   FW: Drawback Documents”
 4         23        4/01/2016     Email from employee of TPP Export to CLARK and employee of
                                   Pacific Rim, subject: “New claim docs”
 5         24        4/01/2016     Email from employee of Pacific Rim to BEHM, the drawback claim
                                   preparer, and an employee of TPP Export, subject: “New Claim
 6
                                   Docs – Engineering Resins”
 7         25        6/14/2016     Email correspondence between CHOY and CLARK, subject:
                                   “Change BL”
 8         26       10/04/2016     Email correspondence between STANKA, CLARK, and BEHM,
                                   subject: “RE: Contract and Forecast”
 9         27        3/14/2017     Email correspondence between STANKA, CLARK, and BEHM,
10                                 subject: “RE: ML Trading issue”
           28        3/15/2017     Email correspondence involving STANKA, BEHM, and LIANG,
11                                 subject: “RE: Korea Containers @ Port”

12          Each in violation of Title 18, United States Code, Sections 1343 and 2.
13 COUNTS TWENTY-NINE THROUGH THIRTY: (18 U.S.C. §§ 1341 and 2 – Mail Fraud)

14          44.    Paragraphs 1 through 37(e) are incorporated and realleged as if fully set forth here.
15          45.    On or about the dates provided below, in the Northern District of California and
16 elsewhere, the defendant,

17                                           YONG HENG LIANG,
18 did knowingly, and with the intent to defraud, participate in, devise, and intend to devise a scheme and

19 artifice to defraud and to obtain money and property by means of materially false and fraudulent

20 pretenses, representations, and promises, and by concealment of material facts and omissions of material

21 facts with a duty to disclose, and attempting to do so, did knowingly cause to be delivered by a private

22 and commercial interstate carrier at the place at which it was directed to be delivered by the person or

23 entity to whom it was addressed the following matters and things:

24      Count       Date                             Description of Item Transmitted
         29       2/6/2016     15 40’ containers (Orient Overseas Container Line Bill of Lading
25
                               #OOLU4037312910), description “scrap rubber,” weighing 377,361
26                             kilograms
          30      2/6/2016     14 40’ containers (Orient Overseas Container Line Bill of Lading
27                             #OOLU4037312870), description “scrap rubber,” weighing 351,728
                               kilograms
28


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 1          Each in violation of Title 18, United States Code, Sections 1341 and 2.

 2 COUNT THIRTY-ONE THROUGH THIRTY-EIGHT: (18 U.S.C. §§ 1957 and 2 – Money Laundering)

 3          46.     Paragraphs 1 through 43 above are incorporated and realleged as if fully set forth here.

 4          47.    On or about the dates alleged below, in the Northern District of California and elsewhere,

 5 the defendants listed in the table below did knowingly engage and attempt to engage in the following

 6 monetary transactions by, through, and to a financial institution, affecting interstate and foreign

 7 commerce, in criminally derived property of a value greater than $10,000, such funds having been

 8 derived from the specified unlawful activity of wire fraud in violation of Title 18, United States Code,

 9 Section 1343:

10       Count     Defendants                   Date         Amount                   Description
          31   JOSHUA STANKA                 3/14/2016      $246,250     Funds Transfer from TPP Export
11                                                                       Independent Bank Account #3604
                                                                         to Independent Bank Account
12
                                                                         #2388 controlled by STANKA
13         32      JOSHUA CLARK              12/08/2016     $50,000      Funds Transfer from TPP Export
                                                                         Independent Bank Account #3604
14                                                                       to Independent Bank Account
                                                                         #3550 controlled by CLARK
15         33      JOSHUA STANKA             2/06/2017      $210,000     Wire Transfer from TPP Export
16                                                                       Bank of America Account #0885 to
                                                                         Bank of America Account #6192
17                                                                       controlled by STANKA
           34      JOSHUA STANKA             7/19/2017      $50,000      Check from TPP Export Bank of
18                                                                       America Account #0885 deposited
                                                                         into Integrity Bank Account #2388
19
                                                                         controlled by STANKA
20         35      JOSHUA CLARK              7/26/2017      $90,000      Funds Transfer from Hammer
                                                                         Trading Independent Bank Account
21                                                                       #1797 to Independent Bak Account
                                                                         #3550 controlled by CLARK
22         36      JOSHUA CLARK and          5/21/2018      $150,000     Funds Transfer from Hammer
23                 JOSHUA STANKA                                         Trading Independent Bank Account
                                                                         #1797 to First Financial Bank
24                                                                       Account #2270 controlled by
                                                                         STANKA
25         37      JOSHUA CLARK and          7/10/2018      $20,000      Wire Transfer from Hammer
                   MICHAEL CHOY                                          Trading Chase Account #5670 to
26                                                                       account controlled by CHOY at
27                                                                       Canadian Imperial Bank of
                                                                         Commerce
28


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 1        Count     Defendants                   Date        Amount                 Description
           38   JOSHUA CLARK                  8/16/2019     $130,000      Check deposited to Chase Account
 2                                                                        #1904 from Hammer Trading
                                                                          Independent Bank Account #1797
 3

 4          Each in violation of Title 18, United States Code, Section 1957.

 5
   COUNTS THIRTY-NINE THROUGH FORTY-TWO: (18 U.S.C. §§ 1956(a)(2)(A) and 2 –
 6 Laundering of Monetary Instruments)

 7          48.     Paragraphs 1 through 43 above are incorporated and realleged as if fully set forth here.
 8          49.     On or about the dates alleged below, in the Northern District of California and elsewhere,
 9 the defendants listed in the table below, did knowingly transport and transfer monetary instruments

10 listed in the table below, from or to a place outside the United States, to or from a place inside the

11 United States, with intent to promote the carrying on of the specified unlawful activity of wire fraud in

12 violation of 18 U.S.C. § 1343, and in doing so did conduct the financial transactions listed in the chart

13 below:

14        Count      Defendants                   Date        Amount            Description
           39   YONG HENG LIANG                1/06/2018     $4,990 Wire Transfer from account
15              and MICHAEL CHOY                                    controlled by CHOY at Toronto
16                                                                  Dominion Bank Account to BATR
                                                                    Wells Fargo Account #6008
17                                                                  controlled by LIANG
            40     YONG HENG LIANG             02/02/2018 $7,480    Wire Transfer from account
18                 and MICHAEL CHOY                                 controlled by CHOY at Canadian
                                                                    Imperial Bank of Commerce
19
                                                                    Account to BATR Wells Fargo
20                                                                  Account #6008 controlled by
                                                                    LIANG
21          41     JOSHUA CLARK and            7/10/2018 $20,000    Wire Transfer from Hammer
                   MICHAEL CHOY                                     Trading Chase Account #5670 to
22                                                                  CHOY account at Canadian
                                                                    Imperial Bank of Commerce.
23
            42     YONG HENG LIANG             1/04/2019 $14,406.11 Wire Transfer from account
24                 and MICHAEL CHOY                                 controlled by CHOY at Canadian
                                                                    Imperial Bank of Commerce to
25                                                                  LIANG Bank of America Account
                                                                    #2353
26
            Each in violation of Title 18, United States Code, Section 1956(a)(2)(A).
27
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28


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 1 COUNT FORTY-THREE: (18 U.S.C. §§ 1519 and 2 – Falsification of Records to Obstruct
   Investigation)
 2
           50.    Paragraphs 1 through 49 are realleged as if fully set forth herein.
 3
           51.    On or about October 10, 2017, in the Northern District of California and elsewhere, the
 4
   defendant,
 5
                                           YONG HENG LIANG
 6

 7 knowingly altered, falsified, and made false entries in a record, document, and tangible object, namely

 8 creating and causing to be mailed to an employee of the Department of Homeland Security a fabricated,

 9 false, and backdated purchase order for 100 containers loaded with waste tires, with the intent to

10 impede, obstruct, and influence an actual and contemplated investigation and the proper administration

11 of a matter within the jurisdiction of a department and agency of the United States, namely the

12 Department of Homeland Security.

13          All in violation of Title 18, United States Code, Section 1519 and 2.

14 FORFEITURE ALLEGATION:

15          52.     The factual allegations contained in Paragraphs One through Forty-Nine are hereby

16 realleged for the purpose of alleging forfeiture to the United States of America pursuant to Title 18,

17 United States Code, Sections 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); and Title

18 18, United States Cade, Section 982(a)(1).

19          53.     Upon conviction of the offenses in Counts Seventeen through Thirty of this Indictment,

20 the defendants,

21                                              DALE BEHM,
                                             JOSHUA STANKA,
22                                            JOSHUA CLARK,
                                           YONG HENG LIANG, and
23                                            MICHAEL CHOY

24 shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section

25 981(a)(1)(C), as incorporated by Title 28, United States Code, Section 2461(c), any property, real or

26 personal, which constitutes or is derived from proceeds traceable to a violations of Title 18, United

27 States Code, Sections 1341 and 1343. The United States will also seek a forfeiture money judgment

28 against each defendant equal to the value of any property, real or personal, which constitutes or is


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 1 derived from proceeds traceable to these offenses.

 2          54.     Upon conviction of the offenses in Counts Thirty-One through Forty-Two of this

 3 Indictment, the defendants,

 4                                            JOSHUA STANKA,
                                               JOSHUA CLARK,
 5                                          YONG HENG LIANG, and
                                               MICHAEL CHOY
 6

 7 shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section 982(a)(1),

 8 any property, real or personal, involved in a violation of Title 18, United States Code, Sections 1956

 9 and/or 1957, or any property traceable to such property. The United States will also seek a forfeiture

10 money judgment against each defendant equal to the value of any property, real or personal, involved in

11 these offenses, or property traceable to such property.

12          55.     If any of the property described above, as a result of any act or omission of the defendant:

13                         a.      cannot be located upon exercise of due diligence;

14                         b.      has been transferred or sold to, or deposited with, a third party;

15                         c.      has been placed beyond the jurisdiction of the court;

16                         d.      has been substantially diminished in value; or

17                         e.      has been commingled with other property which cannot be divided

18                                 without difficulty,

19 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

20 United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

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 1         All pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and 982(a)(1); Title 28,

 2 United States Code, Section 2461(c); Title 21, United States Code, Section 853; and Federal Rule of

 3 Criminal Procedure 32.2.

 4
                                                        A True Bill
 5
     Dated: August 11, 2020                                 V
                                                        ______________________________
 6
                                                        FOREPERSON
 7
   DAVID L. ANDERSON
 8 United States Attorney

 9
   _______/s/___________________
10
   COLIN SAMPSON
11 Assistant United States Attorney

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